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                                      United States Bankruptcy Court
                                       For the District of Colorado

    In re:                                             )
    Armed Beavers LLC                                  )                       Bankruptcy Case No. 20-14963-KHT
                                                       )                                  Chapter 11
                                                       )
    Debtor(s).                                         )

                   DEFICIENCY NOTICE: DOCUMENTS DUE                      8/5/2020

The following missing documents are required for your case:
    • Corporate Resolution
    • Corporate Ownership Statement
    • List of Creditors Holding 20 Largest Unsecured Claims
    • Statement regarding whether a receiver is in possession of all or any part of the Debtor's property (L.B.F. 1007-7.1)
    • Small Business Balance Sheet (due no later than 7/29/2020)
    • Small Business Cash Flow (due no later than 7/29/2020)




Your case is subject to dismissal if you fail to file the missing documents or otherwise request a
hearing in writing by the above date.1

Date: 7/23/2020                                     Kenneth S. Gardner, Clerk
                                                    U.S. Customs House, 721 19th Street, Denver, CO 80202

Create your “List of Creditors” online: http://www.cob.uscourts.gov/credentry/splash_creditor_entry.asp
The Official Bankruptcy Forms are available at http://www.uscourts.gov/forms/bankruptcy-forms
The Official Local Bankruptcy Forms are available at http://www.cob.uscourts.gov/forms/all-forms
For more information on how to file the missing document(s) or information about your case:
        Call: 720-904-7300
        Live Chat Online: www.cob.uscourts.gov

1
 See 11 U.S.C. § 521 and/or 11 U.S.C. §1116, Federal Rule of Bankruptcy Procedure 1007 and/or 3015, and/or
Local Bankruptcy Rule 1007-6, and 1007-7.
